        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 1 of 25




                     AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT
                                  AND ARREST WARRANT

       I, Timothy D. Taylor, a Special Agent with the Federal Bureau of Investigation, Tampa,

Florida, being duly sworn, depose and state as follows:

                                       PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint and Arrest Warrant

charging Corinne Lee MONTONI with violations of 18 U.S.C. §1512(c)(2); 18 U.S.C. §§

1752(a)(1) and (2); 40 U.S.C. §§ 5104(e)(2)(D) and (G); and 18 U.S.C. § 2(a), as identified below.

       2.      I respectfully submit that this Affidavit establishes probable cause to believe that

MONTONI: (1) attempted, and did, corruptly obstruct, influence, and impede an official

proceeding, that is a proceeding before Congress, by entering and remaining in the United States

Capitol without authority and committing an act of civil disorder and engaging in disorderly and

disruptive conduct, in violation of 18 U.S.C. § 1512(c)(2) (Obstruction of an Official Proceeding);

(2) did unlawfully and knowingly enter or remain in a restricted building or grounds, that is any

posted, cordoned-off, or otherwise restricted area within the United States Capitol or its grounds,

where the Vice President and Vice President-Elect were temporarily visiting, without lawful

authority to do so, or did knowingly, and with intent to impede or disrupt the orderly conduct of

Government business or official functions, engage in disorderly or disruptive conduct in, or within

such proximity to, any such restricted building or grounds, in violation of 18 U.S.C. §§ 1752(a)(1)

and (2) (Entering and Remaining; Disorderly and Disruptive Conduct in Restricted Building or

Grounds); (3) did willfully and knowingly utter loud, threatening, or abusive language, or engage

in disorderly or disruptive conduct, in any of the United States Capitol Buildings with intent to

impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of

Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 2 of 25




committee of Congress or either House of Congress, or did willfully and knowingly parade,

demonstrate, or picket in any United States Capitol Buildings, in violation of 40 U.S.C. §§

5104(e)(2)(D) and (G) (Disorderly Conduct; Parading, Demonstrating, or Picketing in a Capitol

Building); and (4) did aid and abet the commission of these offenses against the United States, in

violation of 18 U.S.C. § 2(a).

                                     AGENT BACKGROUND

        3.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and, as such,

am a “federal law enforcement officer” within the meaning of Federal Rule of Criminal Procedure

41(a)(2)(C). I joined the FBI as an Intelligence Analyst in 2008, and then became a Special Agent

in August 2010. As a special agent, I have participated in numerous investigations and have

executed both arrest and search warrants. In addition to my regular duties, I am currently also

tasked with investigating criminal activity that occurred in and around the Capitol grounds on

January 6, 2021.

        4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested criminal complaint and

arrest warrant and does not set forth all of my knowledge about this matter. When a date is listed,

I mean that the event occurred “on or about” that date. When a time period is listed, I mean that

the event occurred “in or around” that time period.

                                           JURISDICTION

        5.      This Court has jurisdiction to issue the requested warrant because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), and

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has jurisdiction
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 3 of 25




over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below,

the U.S. Attorney’s Office for the District of Columbia is investigating this case, which, among

other things, involves violations of Title 18 U.S.C. § 1512(c)(2); Title 18 U.S.C. §§ 1752(a)(1)

and (2), and Title 40 U.S.C. §§ 5104(e)(2)(D) and (G). The conduct at issue includes an overt act

in the District of Columbia, in the form of entering a restricted area around the Capitol on January

6, 2021, as part of a mob that disrupted the proceedings of Congress.

                    STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                             Background – The U.S. Capitol on January 6, 2021

       6.      U.S. Capitol Police (USCP), the FBI, and assisting law enforcement agencies are

investigating a riot and related offenses that occurred at the United States Capitol Building, located

at 1 First Street, NW, Washington, D.C., 20510 at latitude 38.88997 and longitude -77.00906 on

January 6, 2021.

       7.      At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is 580,000

square feet and is located underground on the east side of the Capitol. On the west side of the

Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of

open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

side, and two large skylights into the Visitor’s Center surrounded by a concrete parkway. All of

this area was barricaded and off limits to the public on January 6, 2021.
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 4 of 25




       8.        The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       9.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       10.       On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol.     During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

took place on November 3, 2020 (“Certification”). The joint session began at approximately 1:00

p.m. Eastern Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m. EST, the House

and Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       11.       As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       12.       At around 1:00 p.m. EST, known and unknown individuals broke through the police

lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

supporting law enforcement officers there to protect the U.S. Capitol.

       13.       At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

Cannon Office Building and the Library of Congress James Madison Memorial Building in part
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 5 of 25




because of a suspicious package found nearby. Pipe bombs were later found near both the

Democratic National Committee and Republican National Committee headquarters.

       14.     Media reporting showed a group of individuals outside of the Capitol chanting,

“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       15.     At approximately 2:00 p.m. EST, some people in the crowd forced their way

through, up, and over the barricades and law enforcement. The crowd advanced to the exterior

façade of the building. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks by U.S. Capitol Police Officers or other authorized security officials. At such

time, the certification proceedings were still underway and the exterior doors and windows of the

U.S. Capitol were locked or otherwise secured. Members of law enforcement attempted to

maintain order and keep the crowd from entering the Capitol.

       16.     Shortly after 2:00 p.m. EST, individuals in the crowd forced entry into the U.S.

Capitol, including by breaking windows and by assaulting members of law enforcement, as others

in the crowd encouraged and assisted those acts. Publicly available video footage shows an

unknown individual saying to a crowd outside the Capitol building, “We’re gonna fucking take

this,” which your affiant believes was a reference to “taking” the U.S. Capitol.
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 6 of 25




       17.     Shortly thereafter, at approximately 2:20 p.m. EST, members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about

this time, USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and

locked it down. USCP ordered a similar lockdown in the House chamber. As the subjects

attempted to break into the House chamber, by breaking the windows on the chamber door, law

enforcement were forced to draw their weapons to protect the victims sheltering inside.

       18.     At approximately 2:30 p.m. EST, known and unknown subjects broke windows and

pushed past USCP and supporting law enforcement officers forcing their way into the U.S. Capitol

on both the west side and the east side of the building. Once inside, the subjects broke windows

and doors, destroyed property, stole property, and assaulted federal police officers. Many of the

federal police officers were injured and several were admitted to the hospital. The subjects also

confronted and terrorized members of Congress, Congressional staff, and the media. The subjects

carried weapons including tire irons, sledgehammers, bear spray, and tasers. They also took police
          Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 7 of 25




equipment from overrun police including shields and police batons. At least one of the subjects

carried a handgun with an extended magazine. These actions by the unknown individuals resulted

in the disruption and ultimate delay of the vote Certification.

          19.   Also at approximately 2:30 p.m. EST, USCP ordered the evacuation of lawmakers,

Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

safety.

          20.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          21.   At around 2:47 p.m. EST, subjects broke into the United States Senate Chamber.

Publicly available video shows an individual asking, “Where are they?” as they opened up the door

to the Senate Chamber. Based upon the context, law enforcement believes that the word “they” is

in reference to members of Congress.




          22.   After subjects forced entry into the Senate Chamber, publicly available video shows

that an individual asked, “Where the fuck is Nancy?” Based upon other comments and the context,
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 8 of 25




law enforcement believes that the “Nancy” being referenced was the Speaker of the House of

Representatives, Nancy Pelosi.




       23.    One subject left a note on the podium on the floor of the Senate Chamber. This

note, captured by the filming reporter, stated “A Matter of Time Justice is Coming.”
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 9 of 25




       24.     During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my training

and experience, tactical vests and carrying flex cuffs. Based upon my knowledge, training, and

experience, I know that flex cuffs are a manner of restraint that are designed to be carried in

situations where a large number of individuals are expected to be taken into custody.
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 10 of 25




       25.     At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

beginning at 6:00 p.m. EST.

       26.     At around 2:45 p.m. EST, one subject was shot and killed while attempting to break

into the House chamber through the broken windows.

       27.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

       28.     Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

U.S. Capitol of all of the subjects.

       29.     Based on these events, all proceedings of the United States Congress, including the

joint session, were effectively suspended until shortly after 8:00 p.m. EST the same day. In light

of the dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the

danger posed by individuals who had entered the U.S. Capitol without any security screening or

weapons check, Congressional proceedings could not resume until after every unauthorized
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 11 of 25




occupant had left the U.S. Capitol, and the building had been confirmed secured. The proceedings

resumed at approximately 8:00 pm after the building had been secured. Vice President Pence

remained in the United States Capitol from the time he was evacuated from the Senate Chamber

until the session resumed.

       30.     Beginning around 8:00 p.m. EST, the Senate resumed work on the Certification.

       31.     Beginning around 9:00 p.m. EST, the House resumed work on the Certification.

       32.     Both chambers of Congress met and worked on the Certification within the Capitol

building until approximately 3:00 a.m. EST on January 7, 2021.

       33.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       34.     Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to allow individuals to capture photographs and video footage of the gatherings, to communicate

with other individuals about the gatherings, to coordinate with other participants at the gatherings,

and to post on social media and digital forums about the gatherings.

       35.     Many subjects seen on news footage in the area of the U.S. Capitol are using a cell

phone in some capacity. It appears some subjects were recording the events occurring in and

around the U.S. Capitol and others appear to be taking photos, to include photos and video of

themselves after breaking into the U.S. Capitol itself, including photos of themselves damaging

and stealing property. As reported in the news media, others inside and immediately outside the
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 12 of 25




U.S. Capitol live-streamed their activities, including those described above as well as statements

about these activities.

        36.        Photos below, available on various publicly available news, social media, and other

media show some of the subjects within the U.S. Capitol during the riot. In several of these photos,

the individuals who broke into the U.S. Capitol can be seen holding and using cell phones,

including to take pictures and/or videos:




                                                                                                              1




        1
            https://losangeles.cbslocal.com/2021/01/06/congresswoman-capitol-building-takeover-an-attempted-coup/
Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 13 of 25




                                                       2




                                                       3




2
     https://www.businessinsider.com/republicans-objecting-to-electoral-votes-in-congress-live-updates-2021-
1.
3
   https://www.thv11.com/article/news/arkansas-man-storms-capitol-pelosi/91-41abde60-a390-4a9e-b5f3-
d80b0b96141e
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 14 of 25




               Evidence Linking MONTONI to the Assault on the U.S. Capitol

       37.     On January 7, 2021, a complainant (“C-1”) submitted an online tip to the FBI

National Threat Operations Center (“NTOC”) via tips.fbi.gov. In the tip, C-1 reported that

MONTONI was involved in property damage that occurred during the riot at the U.S. Capitol. In

an initial interview on January 8, 2021, C-1 reported that he/she had scrolled through Facebook on

January 6, 2021, and had seen comments from another person regarding MONTONI attending the

riots and being inside the U.S. Capitol. C-1 said that the comments suggested that law enforcement

would identify MONTONI as having been inside the Capitol, and the commentator warned

MONTONI to be careful. C-1, who did not personally know MONTONI, went to

MONTONI's Facebook page (username: corinne.montoni) and saw videos of a female she

believed to be MONTONI inside the Capitol, as well as posts from MONTONI that discussed

taking over the Capitol. On or about January 12, 2021, C-1 emailed the FBI with screen captures

of several photos and posts C-1 captured from Facebook account corinne.montoni and Instagram

account @_montoni. I compared the photos and the account vanity names on the screen captures

provided by C-1 to a Florida driver’s license photo of MONTONI, and confirmed that the

individual believed by C-1 to be MONTONI was in fact MONTONI.

       38.     In a follow-up interview on January 12, 2021, C-1 reported that videos posted on

January 6, 2021, showed MONTONI inside the U.S. Capitol, panning the camera to other people

who were also inside the building. MONTONI was bragging about being inside and taking over

the Capitol. C-1 also said that MONTONI had posted information about plans to return to

Washington, D.C. for the presidential inauguration on January 20, 2021. However, upon returning

to view the videos and posts, C-1 noted that MONTONI's account was later deleted. Screen
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 15 of 25




captures obtained by C-1 and provided to the FBI included the following statements from

Facebook and Instagram accounts associated with MONTONI:

            “We tried going to the courts. We tried showing evidence. We tried the nice and legal
             way but when corruption runs so deep for so long, that doesn't work....Today we
             showed them how done we are. The Capitol building belongs to US, we the people.
             This is our house....We broke a few windows, sure but we were a peaceful protest
             occupying the people's property...” (Facebook username: corinne.montoni. Dated
             January 6, 2021). 4

          “Trump is our leader. This is not over yet. January 6th is the day to keep an eye on and
           if that doesn't work, we will be back in DC on the 20th letting the world know we
           REJECT progressive liberalism.” (Instagram username: @_montoni. Dated: December
           16, 2020). 5
       39.      In a separate NTOC tip from January 7, 2021, another complainant (“C-2”) reported

that MONTONI had informed her family that she had taken a flight from Tampa to Washington

D.C., and had stayed in a hotel in Washington. C-2 is a close acquaintance of MONTONI, who

advised that he/she is aware of MONTONI’s activities. MONTONI stated to C-2 that she had

stormed the U.S. Capitol and had gotten inside the building. C-2 said that there were pictures on

Facebook of the rioting featuring MONTONI saying it was “awesome” and “intense.”

       40.       In an interview on January 13, 2021, C-2 confirmed his/her previous reporting and

said that MONTONI had contacted her relative, W-1, when she got back to her hotel to tell

him/her about penetrating the U.S. Capitol. W-1 then called C-2 to report the conversation, which

is when C-2 observed the above Facebook content. C-2 attempted to access the Facebook content

in the presence of interviewing agents, but he/she had been blocked by MONTONI. C-2 then

attempted to call MONTONI, but MONTONI did not answer. C-2 made a positive identification


             4
             I compared this screen capture against records obtained from Facebook pursuant to legal process and
       confirmed that this statement was posted on January 6, 2021.
             5
              I compared this screen capture against records obtained from Instagram pursuant to legal process and
             confirmed that this statement was posted; however, the records reflect a posting date of December 15,
             2020.
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 16 of 25




of MONTONI from an image obtained from a video taken inside the Capitol on January 6, 2021.

This identification is discussed further below.

        41.    In an interview on January 8, 2021, another complainant (“C-3”) reported that

he/she was Facebook friends with MONTONI because he/she went to high school with

MONTONI in Connecticut. C-3 reported that on January 6, 2021, he/she had viewed

MONTONI's Facebook timeline, which indicated that MONTONI had flown from Florida to

Washington, D.C. C-3 further believed that MONTONI had used her phone to capture and post

images of a hallway within the U.S. Capitol. While C-3 was not sure if MONTONI was visible in

any of her videos, C-3 recognized MONTONI's voice in the videos. C-3 believed that

MONTONI was in some of the photos she had posted. In addition, one video that MONTONI

had posted showed people dispersing within the Capitol after tear gas was released. Furthermore,

in one of the videos from within the Capitol, MONTONI stated “we have entered the Capitol”

and “this belongs to us.”

        42.    In a follow-up interview, C-3 reported that MONTONI had posted on her

Facebook page (username: corinne.montoni) on the day of the riots—January 6, 2021—saying that

she was inside the U.S. Capitol. C-3 stated that he/she saw three separate videos of MONTONI

inside the Capitol. One video showed MONTONI in a crowded hallway at the time that tear gas

was dispersed inside the building. C-3 also saw another post, from after the incident, in which

MONTONI said that she had more videos on her phone that she would post in the near future.

However, according to C-3, MONTONI did not post those videos to her Facebook page. C-3 also

noted that within 10 hours of him/her seeing the videos, MONTONI's Facebook page was taken

down.
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 17 of 25




                                  Additional Social Media Evidence

       43.        Based, in part, on the above information, I obtained records through an open source

review of social media as well as through legal process for the following three social media

accounts: Facebook (username: corinne.montoni), Instagram (username: username: @_montoni),

and Parler (username @corimontoni). All three accounts are linked to MONTONI. Evidence

linking the three accounts to MONTONI, includes, but is not limited to the following:

             a. The Facebook account was identified as belonging to MONTONI by C-1, C-2, and

                  C-3, and records from Facebook identify her as the user.

             b. The Instagram account was identified as belonging to MONTONI by C-1, and

                  records from Instagram identify her as the user.

             c. The Parler account was identified as belonging to MONTONI by the user of the

                  said Facebook and Instagram accounts, and records from Parler identify her as the

                  user.

In addition, similar, and on occasion, identical posts, appear on these three social media forums,

and images of the user appear on each of the three social media forums. I can confirm that these

images are MONTONI, based on my comparison of these images with the photograph on

MONTONI’s Florida driver’s license. In addition, as detailed below, C-2 positively identified

one of the posted images as MONTONI.

       44.        The social media records include several videos, depicting MONTONI in and

around the Capitol building on or about January 6, 2021. The videos include, but are not limited

to the following:

             a.   VIDEO 1 (posted on MONTONI’s Parler account on January 6, 2021):

                  MONTONI appears outside the Capitol building, wearing a gray “Trump”
Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 18 of 25




     sweatshirt and a blue hat with the words “Make America Great Again.” She says,

     “Okay they breached the Capitol. Pence refused to hear the objections and now we

     surrounded the Capitol building. This is nuts.”

  b. VIDEO 2 (posted on MONTONI’s Instagram account on January 6, 2021):

     MONTONI appears inside the Capitol with other protestors in the background.

     She is wearing the same “Trump” sweatshirt as depicted in Video 1. She says,

     “We’re in the Capitol cuz this is our house – we paid for this, and they’re trying to

     steal it from us. Let’s go!”

         i. On or about January 27, 2021, I provided a cropped image of the female

            depicted in this video to C-2, who, as noted above is a close acquaintance of

            MONTONI.         C-2 positively identified the female in the video as

            MONTONI.

        ii. The photograph below (on the left) depicts a cropped image of the individual

            who was positively identified by C-2 as being MONTONI. The photograph

            below (on the right) depicts an uncropped image of the same individual

            during the same video sequence inside the U.S Capitol on January 6, 2021,

            and wearing a “Trump” sweatshirt.
Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 19 of 25




    c. VIDEO 3 (posted on MONTONI’s Parler account on January 6, 2021): The video

        shows a large crowd of protesters jammed inside a hallway of the Capitol building.

        Most of the crowd is wearing clothing bearing the American flag or colors, or

        depicting the name or a slogan of President Trump. A group of protestors appear

        to be pushing against a line of police officers, while other protestors scream, “Push!”

        MONTONI’s voice can be heard shouting, “We paid for this!” 6 MONTONI’s

        voice can also be heard yelling and then joining the crowd as it chants “U.S.A.”

        repeatedly. Members of the crowd appear to react to something at the end of the

        hallway, possibly pepper spray. They can be heard yelling to other members of the




    6
         I assess that the voice heard on this video is MONTONI’s based on a comparison to the other videos
that were obtained from her social media account in which she can be seen while speaking. C-3 also advised
that he/she heard MONTONI’s voice while viewing a similarly-described video, which was posted on her
social media.
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 20 of 25




                crowd to “clear a path.” Several crowd members appear to be moving away from

                the end of the hallway as they rub their eyes.

       45.      Photographs obtained from the U.S. Capitol Police further corroborate

MONTONI’s presence inside the U.S. Capitol on January 6, 2021. Below is an image I assess to

be MONTONI, wearing a gray sweatshirt and holding a phone, while among a large crowd inside

the Capitol building. I believe this photo captures the moments during which MONTONI was

filming Video 3.




46.             Records obtained from MONTONI’s social media – that is, from the

aforementioned Facebook, Instagram, and Parler accounts – provide further evidence of

MONTONI’s state of mind and presence at the U.S. Capitol on January 6, 2021, for the purpose

of protesting the November 3, 2020 election results and preventing the certification of the election.

Below is sampling of the many conversations I came across upon my review of MONTONI’s

social media:
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 21 of 25




        47.     During a December 13, 2020 private Facebook chat regarding her apparent

participation in the Million MAGA March, MONTONI commented, “We’re booking our shit for

inauguration dude January 20th [sic]…We are not letting Biden steal this shit”.

        48.     On December 15, 2020, MONTONI posted on Instagram, “Trump is our leader.

This is not over yet. January 6th is the day to keep an eye on and if that doesn’t work, we will be

in DC on the 20th letting the world know we REJECT progressive liberalism.”

        49.     In a December 16, 2020 private Facebook chat with an individual, the individual

stated, “Getting close,” to which MONTONI replied, “To what…The revolution?”

        50.     On December 16, 2020, MONTONI posted on Parler, “Insurrection Act coming in

hot.. void the fraudulent 2020 election, arrest these traitors and restore order and faith in our justice

department. GitMo is readyyyyyy [sic]”. On December 17, MONTONI posted, “Even if Trump

loses (which I don’t believe he will), he has cemented himself as our leader. He will have even

more influence being free from the rules of the presidency. This has just begun. Hold the line.”

        51.     Also, on December 18, 2020, MONTONI and an individual shared and discussed

multiple news articles on Facebook. Regarding an article that stated that the Department of Defense

ordered a halt to cooperation with the presidential transition team, MONTONI stated, “Yess that

happened this morning. But the explanation was that Theyre overwhelmed with work but they’ve

never been before in other elections [sic]”. The individual responded, “Biden n harris must not be

sworn in [sic],” to which MONTONI replied, “Nope fuck them”. MONTONI then shared an

article discussing “President Trump on Saturday promised that there would be a “wild” protest in

Washington D.C. on Jan. 6…” The individual asserted, “Some big shit is going down…. This

next week is going to be insane.” MONTONI agreed, “Yup…I know.”
       Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 22 of 25




       52.     On December 20, 2020, MONTONI discussed with an individual on Facebook

plans to travel to Washington, DC for the January 6, 2021 rally. MONTONI asserted, “Trump

called us to dc jan 6th [sic]”. When the individual lamented that he might not be able to afford the

trip, MONTONI stated, “Haha well I want you there so I’ll help…For Christmas…It’s a Christmas

present…Money is arbitrary when we’re talking revolution”.

       53.     On December 25, 2020, MONTONI discussed with an individual on Facebook

plans to travel to Washington, DC for the January 6, 2021 rally. The individual stated, “Well still

have a good time [sic]… And do our patriotic duty”. MONTONI agreed, “Yup!... It better be a

Trump victory party,” to which the individual stated, “Or were going to fucking WAARRRRR

party… Wooh!”. MONTONI agreed, “Yupppppp”.

       54.     On December 28, 2020, MONTONI posted to her Parler account, “If Pence betrays

us, we riot.” On December 29, 2020, she posted, “January 6th in DC is going to be YUGEEEE!

It’s either going to be a Trump victory party or the first real day of the revolution. Who’s going?!”

       55.     On January 5, 2021, MONTONI posted to her Parler account, “DC bound see ya

there Revolutionists!” At times throughout the day of January 6, 2021, MONTONI posted: “WE

BREACHED THE CAPITOL OMG”; “Insurrection is coming. Hold the line. Stay vigilant.”;

“Storming the Capitol to take back our country from traitors! This is OUR HOUSEEEE!”; and

“Here’s a pretty little view from inside the Capitol at our traitor DC police, with a smashed

window. Congratulations to them, they got both sides to hate them.”

       56.     On January 6, 2021, MONTONI posted to her Facebook account “Some small

videos from today. I have so much more. I have to go through them all. FUCK TRAITORS.”

During a January 7, 2021, private chat regarding her participation in the riot, MONTONI told a

Facebook contact, “Hahah yeah it was so fun. But they did pepper spray us.”
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 23 of 25




        57.    On January 6, 2021, MONTONI commented to another Parler user, “I was there.

We were 99% MAGA. I didn’t see one ANTIFA. And I was inside the Capitol.”

        58.    On January 6, 2021, MONTONI posted to her Facebook account, in part: “We are

DONE with these traitors. Today, we showed them how done we are. The Capitol building belongs

to US, we the people. This is our house… We broke a few windows, sure but we were a peaceful

protest occupying the people’s property. Maybe we should have burned down and looted a

Walmart in the name of “justice” and the media would have called it a “peaceful protest”. Fuck

traitors. Fuck the biased media. We are DONE letting corruption run wild.” Additionally, in a

January 6, 2021 private chat, in which MONTONI was asked “Did you break in or just go instead

the halls to protest peacefully,” MONTONI replied “Obv broke in because it was locked. They

had to breach the gates first [sic]… We didn’t do anything destructive except break the window.”

        59.    On January 6, 2021, MONTONI posted on Parler, “Insurrection is coming. Hold

the line. Stay vigilant.” On January 7, she stated, “If you have a problem with American citizens

occupying a building WE OWN, but not a problem with the massive voter fraud and stolen

election, you are the enemy.”

        60.    On January 6, 2021, commenting on her actions inside the Capitol, MONTONI

stated on Parler, “We do not want civilians. We do not even want most of the cops. We want the

TRAITOR POLITICIANS. This is not a civil war. This is a revolution.” On January 7, MONTONI

again asserted her belief that U.S. politicians were traitors that she had intended to forcibly remove

from the Capitol, when stating, “How so? Traitors still occupy our federal buildings. We didn’t win

yet.”

        61.    In a January 7, 2021 private Facebook chat, MONTONI asserted her intention to

abduct or erroneously arrest members of congress when she shared, “Yep [Vice President Mike
        Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 24 of 25




Pence is] first… I was screaming that at the Capitol… We want pence first [sic]”. She furthered

this discussion of her intentions in a January 8, 2021 chat, when she stated, “Yeah it’s crazy. They

don’t care about BLM or ANTIFA but we want to occupy our own building and take the traitors

into custody and it’s a problem”.

        62.      On January 7, 2021, in a private Facebook chat, MONTONI reported, “Now

people are like. You’re going to jail…Ok so they’re gonna arrest the 1000 people that went in…Ok

[sic]”. The friend stated, “Girlll I was going to tell you to delete it but I didn’t even have a chance

because I was dealing with this damn baby… I’m watching a ton of videos from patriots being in

lockdown right now [sic]”. MONTONI replied, “Yeah I’m glad I did… Haha yup we wanted

ANTIFA”. During the same chat session, a friend of MONTONI stated, “Oh my gosh!!! I

would’ve loved that! But I’m so glad y’all got out of there and you deleted that video!”

        63.      On January 10, 2021, MONTONI stated in a private Facebook chat, “I deleted

Facebook so I don’t think I can watch videos on there anymore”. 7

        64.      On January 22, 2021, MONTONI stated in a private Facebook chat that she

planned to delete her Facebook Messenger and move to just text messaging.

                                                  CONCLUSION


        65.      Based on the foregoing, your Affiant submits that there is probable cause to believe

that Corinne Lee MONTONI violated 18 U.S.C. § 1512(c)(2) (Obstruction of an Official

Proceeding); 18 U.S.C. §§ 1752(a)(1) and (2) (Entering and Remaining; Disorderly and Disruptive

Conduct in Restricted Building or Grounds); 40 U.S.C. §§ 5104(e)(2)(D) and (G) (Disorderly




7
         FBI received records from Facebook indicating that MONTONI’s Facebook account was deactivated and
reactivated on at least January 9, 2021, and January 13, 2021. It does not appear that MONTONI ever actually deleted
the account during the timeframe in which she discussed deletion.
          Case 1:21-mj-00289-GMH Document 1-1 Filed 03/08/21 Page 25 of 25




Conduct; Parading, Demonstrating, or Picketing in a Capitol Building); and 18 U.S.C. § 2(a)

(Aiding and Abetting), as identified and described above.

          As such, I respectfully request that the court issue a criminal complaint and arrest warrant

for MONTONI. The statements above are true and accurate to the best of my knowledge and

belief.

                                                      Respectfully submitted,



                                                      TIMOTHY D. TAYLOR
                                                      Special Agent, Federal Bureau of Investigation




    Sworn to via telephone after submission by reliable electronic means, Fed. R. Crim. P. 3,

4(d), and 4.1, on this 8th day of March 2021.
                              Digitally signed by
                              G. Michael Harvey
          _________________________________________
          G. MICHAEL HARVEY
          UNITED STATES MAGISTRATE JUDGE
